Case 2:04-CV-02272-dkv Document 15 Filed 08/25/05 Page 1 of 3 Page|D 26

 

IN THE UNITED STATES DISTRICT COURT ""' - D.C.',
FOR THE WESTERN DIS'I`RICT OF TENNESSEE 05 AUC 2
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CLW'Q U~g F'§`ITW\T
ERICK J. sToWERs, mm C}_ » t:D 53

Plaintiff,
Vs. NO: 04-2272}“\/

JIMMY D. GUINN and ADMIRAL
MERCHANT MOTOR FREIGHT, ]NC.,

*****'l-****

Defendants.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

Come now the parties, by and through their attorneys of record, and announce to the Court
that the matters and things heretofore in controversy between them have been settled and that this
cause should therefore be dismissed, with prejudice, at the cost of the Defendants, (costs assessed
shall not include any discretionary costs, the Defendant to pay only the costs of the Clerk with any

other costs to be borne by the Plaintiff).

I'I` IS, 'I`HEREFORE, ORDERED, ADJUDGED AND DECREED that the PlaintiH's case
be, and the same is hereby dismissed with prejudice, at the cost of the Defendants, (costs assessed
shall not include any discretionary costs, the Defendant to pay only the costs of the Clerk with any
other costs to be borne by the Plaintifl) for which let execution issue, if needed.
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DATE. £M;,¢¢¢j ,? ¢,70¢5

T; is document entered on the docket sheet _Z$ cor t ;
with Ru!e 58 and[cr 79(3) FRCP on

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UNITED sTTES DISRTIC COURT - WESRNTE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02272 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Diane Vescovo
US DISTRICT COURT

